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                                UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA



In Re: Oil Spill by the Oil Rig                   *    MDL 2179
                                                  *
“DEEPWATER HORIZON” in the                        *    SECTION J(2)

Gulf of Mexico on April, 20, 2010                 *    JUDGE BARBIER
                                                  *
This Document Applies to:                         *    MAGISTRATE JUDGE WILKINSON
No. 12-179 c/w 12-259                             *
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*    *    *    *   *   *    *     *   *   *   *   *   *   *   *    *   *    *   *    *   *    *     *

                                              ORDER

         Considering the foregoing Motion to Dismiss Pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure;

         IT IS HEREBY ORDERED, that the Motion to Dismiss is GRANTED and that this suit

is dismissed on grounds that the Petition fails to state a claim upon which relief can be granted

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.


         New Orleans, Louisiana, this _____ day of _________________, 2012.


                                               _________________________________________
                                               UNITED STATES DISTRICT COURT JUDGE




{N2428085.1}
